       Case 1:21-cr-00123-PLF Document 196-2 Filed 10/29/23 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                     v.                                No. 21-cr-123 (PLF)

  VITALI GOSSJANKOWSKI,
                    Defendant.


                                          ORDER

       Upon consideration of Defendant’s Motion for Leave to File Defendant’s Opposition to

the Government’s Motion to Reconsider Release, and for good cause shown, it is hereby ordered

that the motion is GRANTED. The Clerk shall docket Defendant’s Opposition to the

Government’s Motion to Reconsider Release (ECF 196-1).




October 29, 2023                                  ________________________
                                                  Hon. Paul L. Friedman
                                                  United States District Judge
